
591 So.2d 890 (1991)
Ex parte STATE of Alabama ex rel. G.S.
(Re STATE of Alabama ex rel. G.S. v. J.A.S.)
2900692.
Court of Civil Appeals of Alabama.
December 13, 1991.
*891 William Prendergast and Lois Brasfield, Asst. Attys. Gen., for petitioner.
Leon Garmon, Gadsden, for respondent.
ROBERTSON, Presiding Judge.
This is a petition for writ of mandamus.
G.S. (mother) and J.A.S. (father) were married in 1952 and divorced in 1977. Custody of the only remaining minor child of the parties was granted to the mother, and the father was ordered to pay $50 per week as child support.
In response to a support petition filed pursuant to the Uniform Reciprocal Enforcement of Support Act, the father filed a motion for paternity blood testing to determine the paternity of the child. The trial court entered an order requiring the mother and child to appear for blood testing. The petitioner, State of Alabama ex. rel. G.S., seeks a writ of mandamus, instructing the trial court to withdraw the order for the blood testing and to overrule the father's motion to determine paternity.
The writ of mandamus is due to be granted on the authority of Ex parte State ex rel. Harrell, 588 So.2d 868 (Ala.1991).
WRIT GRANTED.
THIGPEN and RUSSELL, JJ., concur.
